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                                   1                                UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   5   WAYMO LLC,
                                   6                  Plaintiff,                             No. C 17-00939 WHA

                                   7           v.

                                   8   UBER TECHNOLOGIES, INC., et al.,                      ORDER MODIFYING
                                                                                             PROTECTIVE ORDER
                                   9                  Defendants.

                                  10

                                  11        Waymo sued Uber. We generated an extensive record, and the protective order has

                                  12   restricted use of that material to “this litigation.” Yet our underlying facts spawned several
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                                  13   other disputes, including the ongoing bankruptcy proceeding of Anthony Levandowski, who

                                  14   has worked for both parties. Uber seeks to amend our protective order so that it may review

                                  15   and perhaps use material from our record in the bankruptcy proceeding. To the following

                                  16   extent, it may do so.

                                  17        Our court of appeals encourages avoiding wasteful duplicative discovery by using a

                                  18   record created in one case to aid resolution of another. “Where reasonable restrictions on

                                  19   collateral disclosure will continue to protect an affected party’s legitimate interests in privacy,”

                                  20   a protective order should be amended to permit the collateral litigants’ access. Foltz v. State

                                  21   Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1131–32 (9th Cir. 2003). No one doubts that the

                                  22   bankruptcy court’s protective order will suffice.

                                  23        To prevent, however, a collateral litigant “from gaining access to discovery materials

                                  24   merely to subvert limitations on discovery in another proceeding,” we condition such

                                  25   modification of the protective order on a showing that our record “is sufficiently relevant to the

                                  26   collateral litigation that a substantial amount of duplicative discovery will be avoided by

                                  27   modifying the protective order.” Uber points to a substantial overlap in parties, witnesses, and

                                  28   issues between the proceedings, which Waymo does not dispute (Dkt. No. 2726 at 7–9). We
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                                   1   also consider the extent to which parties’ reliance on the protective order induced their

                                   2   contribution to our record. Though where, as here, the protective order in question offered

                                   3   blanket protection, such reliance interests typically do not override the interests in amendment.

                                   4   Regardless, no party points to particular instances of reliance. See id. at 1132–33.

                                   5        So, our protective order will hereby be modified to permit Uber to review our record for

                                   6   appropriate use in the bankruptcy proceeding. “[O]nce [a] district court has modified its

                                   7   protective order, it must refrain from embroiling itself in the specific discovery disputes

                                   8   applicable only to the collateral suits.” Id. at 1133. That is to say, no part of this amendment

                                   9   of the protective order actually gives Uber any right to introduce portions of our record into the

                                  10   bankruptcy record. Our entire record will not be relevant there. Waymo and third parties may

                                  11   object in the bankruptcy proceedings to the use of specific portions of their material. Uber

                                  12   may not introduce any protected material into the bankruptcy record or disclose such material
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                                  13   to third parties, experts, or deponents (or anyone present at a deposition) without prior

                                  14   reasonable notice to all affected parties, including third parties, protected by our protective

                                  15   order and an opportunity for them to be heard in the bankruptcy court. And, this modification

                                  16   offers equal access to our record to all parties in the bankruptcy court.

                                  17        During oral argument, it came out that Uber gave notice of this motion only to those third

                                  18   parties who appeared on our ECF docket, not to those third parties who produced documents or

                                  19   testimony without appearing on the ECF docket, yet might have done so in reliance on our

                                  20   protective order. This order does not apply to evidence provided by such parties. To the

                                  21   foregoing extent, then, the motion is GRANTED.

                                  22        IT IS SO ORDERED.

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                                  24   Dated: December 22, 2020.

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                                                                                               WILLIAM ALSUP
                                  27                                                           UNITED STATES DISTRICT JUDGE
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